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                                            No. 18-563C
                                    (Filed: September 14, 2018)

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 WINSTON VEODUST EDMONDS,                        *                   FIL~D
                                                 *
                Plaintiff,                       *                  SEP t 4 2018
                                                 *                 U.S. COURT OF
                v.                               *                FEDERAL CLAIMS
                                                 *
 THE UNITED STATES,                              *
                                                 *
                Defendant.                       *
                                                 *
 ** ** * ** **** * *** * ** * ** * *** *



                                    ORDER OF DISMISSAL


WILLIAMS, Senior Judge.

        This matter comes before the Court on Defendant's motion to dismiss. For the reasons
stated below, Defendant's motion is granted.

                                           Background 1

         Plaintiff pro se Winston Veodust Edmonds is incarcerated in the Arizona State Prison
Complex-Eyman. Plaintiff alleges that he was arrested for an apartment break-in in March 2001,
however at the time he was arrested, the building manager had received a report the previous day
that the apaitment door was broken. Compl. 1. Plaintiff alleges that he was deprived of life and
liberty and is entitled to damages for unjust conviction by the Arizona Superior Court. Id. at 3.
Plaintiff seeks $375,000 in damages, as well as $270,000,000 in punitive damages. Id.

                                            Discussion

       Plaintiff has the burden of establishing subject-matter jurisdiction in this Comt. See
Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). The Court must
dismiss the action if it finds subject-matter jurisdiction to be lacking. Adair v. United States, 497
F.3d 1244, 1251 (Fed. Cir. 2007). The Court assumes all factual allegations as true, and will
construe the complaint in a manner most favorable to Plaintiff when ruling on a motion to dismiss


       This background is derived from Plaintiffs complaint and its attachments.


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pursuant to Rule 12(b)(l). Pennington Seed, Inc. v. Produce Exch. No. 299,457 F.3d 1334, 1338
(Fed. Cir. 2006).

        The filings of pro se litigants are held to '" less stringent standards than formal pleadings
drafted by lawyers."' Naskar v. United States, 82 Fed. CI. 319,320 (2008) (quoting Haines v.
Kerner, 404 U.S. 519, 520 (1972)). However, pro se plaintiffs still bear the burden of establishing
the Court's jurisdiction and must do so by a preponderance of the evidence. See Reynolds, 846
F.2d at 748; Tindle v. United States, 56 Fed. Cl. 337, 341 (2003).

        As Plaintiff was convicted in Arizona state comi, this Court lacks jurisdiction over
Plaintiffs claim. See Grant v. United States, No. 17-1540C, 2018 WL 1615873, at *8 (Fed. Cl.
Apr. 4, 2018). Claims brought pursuant to 28 U.S.C. § 1495 must be based on a conviction for a
federal crime. 28 U.S.C. § 1495 (2012) ("The United States Court of Federal Claims shall have
jurisdiction to render judgment upon any claim for damages by any person unjustly convicted of
an offense against the United States and imprisoned.") (emphasis added); Nyabwa v. United States,
696 F. App'x 493, 494 & n. l (Fed. Cir. 2017) (per curiam) ("The statutory term 'offense against
the United States' refers to offenses defined by substantive federal criminal statutes."); Blodgett
v. United States, No. 17-1148C, 2017 WL 5898753, at *3 (Fed. Cl. Nov. 30, 2017) (finding that
the court lacked jurisdiction over plaintiffs claim under 28 U.S.C. § 1495 because he was
convicted in Iowa state comi).

                                                Conclusion

       Defendant's motion to dismiss is GRANTED. The Clerk is directed to dismiss this action.




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